Case 1:17-cr-00032-TSK-MJA Document 1006 Filed 04/09/18 Page 1 of 4 PageID #: 4060



                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                    Plaintiff,

        v.                                 CRIMINAL NO. 1:17CR32-05
                                                (Judge Keeley)

  DARMATRICE LOVE,

                    Defendant.

      ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 992),
       ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        On March 22, 2018, the defendant, Darmatrice Love (“Love”),

  appeared before United States Magistrate Judge Michael J. Aloi and

  moved for permission to enter a plea of GUILTY to Count Twenty-Six

  of the Superseding Indictment. After Love stated that he understood

  that the magistrate judge is not a United States district judge, he

  consented to tendering his plea before the magistrate judge.

  Previously,    this   Court    had   referred   the   guilty   plea   to   the

  magistrate judge for the purposes of administering the allocution

  pursuant to Federal Rule of Criminal Procedure 11, making a finding

  as to whether the plea was knowingly and voluntarily entered, and

  recommending to this Court whether the plea should be accepted.

        Based upon Love’s statements during the plea hearing and the

  government’s proffer establishing that an independent factual basis

  for the plea existed, the magistrate judge found that Love was

  competent to enter a plea, that the plea was freely and voluntarily
Case 1:17-cr-00032-TSK-MJA Document 1006 Filed 04/09/18 Page 2 of 4 PageID #: 4061



  USA v. LOVE                                                     1:17CR32-05

      ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 992),
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  given, that he was aware of the nature of the charges against him

  and the consequences of his plea, and that a factual basis existed

  for the tendered plea. On March 23, 2018, the magistrate judge

  entered a Report and Recommendation Concerning Plea of Guilty in

  Felony Case (“R&R”) (dkt. no. 992) finding a factual basis for the

  plea and recommending that this Court accept Love’s plea of guilty

  to Count Twenty-Six of the Superseding Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections to the R&R.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Love’s guilty plea, and ADJUGES him GUILTY of the crime

  charged in Count Twenty-Six of the Superseding Indictment.

        Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.



                                        2
Case 1:17-cr-00032-TSK-MJA Document 1006 Filed 04/09/18 Page 3 of 4 PageID #: 4062



  USA v. LOVE                                                     1:17CR32-05

      ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 992),
         ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

          Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

          1.   The Probation Officer shall undertake a presentence

  investigation of Love, and prepare a presentence report for the

  Court;

          2.   The Government and Love shall provide their versions of

  the offense to the probation officer by April 17, 2018;

          3.   The   presentence   report   shall   be   disclosed   to   Love,

  defense counsel, and the United States on or before June 15, 2018;

  however, the Probation Officer shall not disclose any sentencing

  recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

          4.   Counsel may file written objections to the presentence

  report on or before June 29, 2018;

          5.   The Office of Probation shall submit the presentence

  report with addendum to the Court on or before July 11, 2018; and

          6.   Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the

  factual basis from the statements or motions, on or before July 11,

  2018.




                                        3
Case 1:17-cr-00032-TSK-MJA Document 1006 Filed 04/09/18 Page 4 of 4 PageID #: 4063



  USA v. LOVE                                                     1:17CR32-05

      ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 992),
         ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        The magistrate judge continued Love on bond pursuant to the

  Order Setting Conditions of Release (dkt. no. 273) entered on July

  13, 2017.

        The   Court   will   conduct    the   sentencing   hearing   for   the

  defendant on Monday July 23, 2018 at 11:30 A.M. at the Clarksburg,

  West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

  DATED: April 9, 2018


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




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